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            EXHIBIT A
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Nathan, Aaron E.

From:                Nathan, Aaron E.
Sent:                Monday, November 18, 2024 11:35 AM
To:                  Joseph Cammarata, Esq.
Cc:                  Governski, Meryl Conant; Gottlieb, Michael; Rachel Goodman; Brittany Williams; Houghton-Larsen, M
                     Annie
Subject:             RE: Freeman v. Giuliani - No. 24-cv-6563 (LJL)


Hi Joe:

We understand that you have just entered an appearance and are still getting up to speed. However, as you can see
from the below email chain, we have been waiting for many weeks to receive confirmation that Mr. Giuliani has
engaged in what should be standard, routine practices in litigation: the preservation of all potentially relevant material,
the collection of all such material, a proper search of all such material, and a timely production of all responsive
documents. Responding to those questions should not take much if any effort, given that they have been outstanding
for two weeks now. Moreover, Ken and David should have been (and should still be able) to provide these responses, as
they have been on the case from its inception and still represent Mr. Giuliani in this matter until the Court approves
their withdrawal request.

We believe we are already at an impasse due to Defendant’s counsel’s consistent inability to provide any response
(much less any confirmation) about Mr. Giuliani’s intent to comply with discovery in this matter, coupled with
Defendant’s failure to serve any responses, objections, or productions by the deadline, or ask for any extension of the
deadline pursuant to the Court’s individual rules. We will be moving to compel unless you can provide confirmation by 1
p.m. today—which reflects an extension beyond the conferral requirements to which all parties agreed—that Mr.
Giuliani has (1) preserved all potentially responsive materials; (2) collected all potentially responsive materials; (3)
searched all potentially responsive materials, using the search terms we provided as a courtesy; and (4) will make full
productions in response to our RFPs by the end of today.

Best,
Aaron




Aaron E. Nathan
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8904 | Fax: +1 212 728 8111
anathan@willkie.com | vCard | www.willkie.com bio

From: Joseph Cammarata, Esq. <Joe@CammarataLawPC.com>
Sent: Monday, November 18, 2024 10:48 AM
To: Nathan, Aaron E. <ANathan@willkie.com>
Subject: RE: Freeman v. Giuliani ‐ No. 24‐cv‐6563 (LJL)

                                                *** EXTERNAL EMAIL ***

Good morning Nathan,


                                                             1
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As you know I filed my Notice of Appearance on Friday November 15, 2024. I am getting up to speed on this matter. I
will reach out to you in a few hours with a response to your email.‐Joe

Regards,

Joseph Cammarata Esq.
Cammarata Law P.C.
456 Arlene Street
Staten Island, NY 10314
Phone: 718-477-0020
Fax: 718-494-3288


Admitted to Practice in:
New York, New Jersey & Florida


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From: Nathan, Aaron E. <ANathan@willkie.com>
Sent: Sunday, November 17, 2024 11:47 AM
To: Kenneth Caruso <ken.caruso@kennethcarusolaw.com>; David Labkowski <david@labkowskilaw.com>; Joseph
Cammarata, Esq. <Joe@CammarataLawPC.com>
Cc: Governski, Meryl Conant <MGovernski@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Rachel Goodman
<rachel.goodman@protectdemocracy.org>; Brittany Williams <brittany.williams@protectdemocracy.org>; Houghton‐
Larsen, M Annie <MHoughton‐Larsen@willkie.com>
Subject: RE: Freeman v. Giuliani ‐ No. 24‐cv‐6563 (LJL)

Ken, David, and Joe:

Pursuant to the Case Management Plan and Scheduling Order in the above‐captioned case (ECF No. 53), Defendant’s
productions and responses to Plaintiffs’ first set of Requests for Production were due Friday, November 15, 2024. We
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have not received anything in response to those RFPs. Nor was any request for an extension of that deadline filed
pursuant to Paragraphs 1(D) and 3(A) of the Court’s Individual Rules and Practices, much less within the time required by
those Rules. Nor have we received any response to any of the emails sent below, in which we requested (among other
things) that Defendant confirm his preservation of all relevant material in this case and his plans to conduct adequate
searches for responsive documents.

Pursuant to Paragraph 4(C) of the Court’s Individual Rules and Practices and the Court’s order dated November 1, 2024
(ECF No. 59), if you wish to confer further about Plaintiffs’ first set of RFPs, please promptly provide your availability to
do so between now and 12pm tomorrow, November 18, 2024, and we will make ourselves available.

Thanks,
Aaron



Aaron E. Nathan
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8904 | Fax: +1 212 728 8111
anathan@willkie.com | vCard | www.willkie.com bio

From: Houghton‐Larsen, M Annie <MHoughton‐Larsen@willkie.com>
Sent: Friday, November 8, 2024 5:12 PM
To: Kenneth Caruso <ken.caruso@kennethcarusolaw.com>; David Labkowski <david@labkowskilaw.com>
Cc: Nathan, Aaron E. <ANathan@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; Gottlieb, Michael
<MGottlieb@willkie.com>; Rachel Goodman <rachel.goodman@protectdemocracy.org>; John Langford
<john.langford@protectdemocracy.org>; Brittany Williams <brittany.williams@protectdemocracy.org>
Subject: RE: Freeman v. Giuliani ‐ No. 24‐cv‐6563 (LJL)

Ken, David,

A week has now passed since we served our first requests for discovery on Mr. Giuliani and asked for certain assurances
regarding his search and production. I also emailed Wednesday reiterating our request and sending over search terms
to assist Mr. Giuliani. We have not received any response, let alone a response confirming the requested assurances or
that Mr. Giuliani will run the proposed search terms. Mr. Giuliani’s responses are due next Friday November 14.

Please promptly advise. We are available to meet and confer.

Thank you,
Annie


M.Annie Houghton-Larsen
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers

From: Houghton‐Larsen, M Annie <MHoughton‐Larsen@willkie.com>
Sent: Wednesday, November 6, 2024 7:30 PM
To: Kenneth Caruso <ken.caruso@kennethcarusolaw.com>; David Labkowski <david@labkowskilaw.com>
Cc: Nathan, Aaron E. <ANathan@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; Gottlieb, Michael

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<MGottlieb@willkie.com>; Rachel Goodman <rachel.goodman@protectdemocracy.org>; John Langford
<john.langford@protectdemocracy.org>; Brittany Williams <brittany.williams@protectdemocracy.org>; MacCurdy,
Maggie <MMacCurdy@willkie.com>
Subject: RE: Freeman v. Giuliani ‐ No. 24‐cv‐6563 (LJL)

Ken, David,

I write to follow up on my email from Friday, November 1. In that email, we asked that you please confirm a few items
by no later than the end of the day Monday, November 4. November 4 has come and gone and we have not received
any correspondence from you regarding Plaintiffs’ first requests for production or the additional assurances we
requested.

I reiterate our request that you fully and promptly confirm the below in order to determine whether and to what extent
we need to involve the Court in ensuring that Mr. Giuliani understands and complies with his obligations.

       Please confirm that Mr. Giuliani has preserved all potentially relevant materials and the date that preservation
        occurred.
       Please confirm that there is no potentially relevant material that has been lost or is otherwise inaccessible. If
        Mr. Giuliani believes that potentially relevant material has been lost or made inaccessible for any reason, please
        confirm with specificity what information that is, when it was lost, how it was believed to be lost, and what
        efforts have been taken to retrieve it.
       Please confirm that Mr. Giuliani intends to engage in a full collection and search of potentially responsive
        information, especially by performing a take‐out of his email accounts. See, e.g.,
        https://support.google.com/accounts/answer/3024190?hl=en.
       As you know, District Court for the District of Columbia found Mr. Giuliani’s manual and ad hoc search of his
        materials insufficient to comply with his discovery obligations under the Federal Rules. Please confirm that Mr.
        Giuliani will not be engaging in that type of “search” here, but instead will rely on engaged experts, whether
        counsel or some other vendor, who will run properly‐documented searches.

Additionally, in an effort to assist Mr. Giuliani with fulfilling his discovery obligations, we request that the attached
search terms are used to identify potentially responsive documents, which I describe in further detail below. To be very
clear, our proposal of these search terms should not in any way be construed as an agreement that running these search
terms would be sufficient to fulfill Mr. Giuliani’s discovery obligations. Many of the documents Plaintiffs request would
not be returned by search terms (for example, calendars, credit card statements, and hard copy documents). Plaintiffs
request that Mr. Giuliani run the attached search terms as one step in a full discovery process.

The search terms attached include three categories:
    1. Search terms to be run across all accounts and devices
    2. Search terms to be run across all communications on all accounts and devices with certain persons Plaintiffs’
       understand Mr. Giuliani regularly communicates with about travel and/or travels with him
    3. Search terms to be run across all communications on all accounts and devices with certain persons Plaintiffs’
       understand to be related to the New York Apartment, the Palm Beach Condo, and real estate agents and moving
       and storage companies regarding the same

Please confirm that Mr. Giuliani will apply these terms as part of his discovery efforts and produce all non‐privileged
documents which are responsive to any of the terms within the relevant date range or provide you availability to meet
and confer.

Thank you,
Annie



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M.Annie Houghton-Larsen
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers

From: Houghton‐Larsen, M Annie
Sent: Friday, November 1, 2024 6:30 PM
To: Kenneth Caruso <ken.caruso@kennethcarusolaw.com>; 'David Labkowski' <david@labkowskilaw.com>
Cc: Nathan, Aaron E. <ANathan@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; Gottlieb, Michael
<MGottlieb@willkie.com>; Rachel Goodman <rachel.goodman@protectdemocracy.org>; 'John Langford'
<john.langford@protectdemocracy.org>; Brittany Williams <brittany.williams@protectdemocracy.org>; MacCurdy,
Maggie <MMacCurdy@willkie.com>
Subject: Freeman v. Giuliani ‐ No. 24‐cv‐6563 (LJL)

Ken, David,

Please find attached Plaintiffs’ first set of requests for production in the homestead action. Per the Court’s Order, ECF
No. 58, Mr. Giuliani’s response is due on Friday November 15. On Monday, we will provide a corresponding proposed
list of search terms to assist.

Given our prior experience in discovery with Mr. Giuliani, we ask that you please confirm a few items by no later than
the end of the day Monday, November 4. We request full and prompt confirmation in order to determine whether and
to what extent we need to involve the Court in ensuring that Mr. Giuliani understands and complies with his obligations.

    ‐   Please confirm that Mr. Giuliani has preserved all potentially relevant materials and the date that preservation
        occurred.
    ‐   Please confirm that there is no potentially relevant material that has been lost or is otherwise inaccessible. If
        Mr. Giuliani believes that potentially relevant material has been lost or made inaccessible for any reason, please
        confirm with specificity what information that is, when it was lost, how it was believed to be lost, and what
        efforts have been taken to retrieve it.
    ‐   Please confirm that Mr. Giuliani intends to engage in a full collection and search of potentially responsive
        information, especially by performing a take‐out of his email accounts. See, e.g.,
        https://support.google.com/accounts/answer/3024190?hl=en.
    ‐   As you know, District Court for the District of Columbia found Mr. Giuliani’s manual and ad hoc search of his
        materials insufficient to comply with his discovery obligations under the Federal Rules. Please confirm that Mr.
        Giuliani will not be engaging in that type of “search” here, but instead will rely on engaged experts, whether
        counsel or some other vendor, who will run properly‐documented searches.

Thank you,
Annie

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